  TD SlATES COURT OFAPPE -mHE UNITED STATES COURT OF APPEALS
)R OiSTRt OF COLUMBIA CtRC1U THE DISTRICT OF COLUMBIA


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 LASSQcJAiIOJ OI AMERICAN RAILROADS,
                                                                   FOR DISTRICT Of COLUMB CIRCUIT



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                            V.
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                                                               )
   FEDERAL RAILROAD ADMINISTRATION;                            )        PETITION FOR
   JOSEPH C. SZABO, ADMINISTRATOR,                             )         REVIEW
   FEDERAL RAILROAD ADMINISTRATION;                            )
   UNITED STATES OF AMERICA                                    )
                                                               )
                       Respondents                             )
                                                               )          14-1207

          The Association of American Railroads petitions this Court for review 4’ the
   decision conveyed via letter dated August 18, 2014, from AssociatAdnhi2chtttor
   Robert C. Lauby concerning the Federal Railroad Administration’s interpretation
   of the Hours of Service laws. AAR will show that FRA’s determination is ntrary
   to law and constitutes arbitrary and capricious agency action.


                                     Respectfully submitted,


                                  Louis P. Warchot
                                  Michael J. Rush
                                  Association of American Railroads
                                  Suite 1000
                                  425 Third St., S.W.
                                  Washington, D.C. 20024
                                  (202) 639-2503
                                  Counsel for Petitioner Association of
                                  American Railroads
   October 17, 2014
                          CERTIFICATE OF SERVICE

      I hereby certify that a copy of the enclosed Motion Of the Association Of

American Railroads To Intervene was served on each of the following parties by

first-class mail, postage prepaid, this 17th day of October, 2014 to:



Melissa Porter
General Counsel
Federal Railroad Administration
1200 New Jersey Aye, SE
Washington, DC 20590




                                 Michael J. Rush
                        IN THE UNITED STATES COURT Of APPEALS
                         FOR THE DISTRICT OF COLUMBIA CIRCUIT


ASSOCIATION Of AMERICAN RAILROADS,                             )
                                                               )
                        Petitioner,                            )
                                                               )
                                v.                             )
                                                               )
FEDERAL RAILROAD ADMINISTRATION;                               )       Case No.
JOSEPH C. SZABO, ADMiNISTRATOR,                                )
FEDERAL RAILROAD ADMINISTRATION;                               )
UNITED STATES OF AMERICA                                       )
                                                               )
                        Respondents                            )
                                                               )
                                                               )

                             CORPORATE DISCLOSURE STATEMENT

       Pursuant to Circuit Rules 15(c)(3) and 26.1, Petitioner states as follows:

       1.   The Association of American Railroads (AAR) is a trade association. Its members

            are railroads that will be affected by the final agency action.

       2. AAR has no parent company and is a nonstock corporation.


                                       Respectfully submitted,


                                       Louis P. Warchot
                                       Michael J. Rush
                                       Association of American Railroads
                                       Suite 1000
                                       425 Third St., S.W.
                                       Washington, D.C. 20024
                                       (202) 639-2503
                                       Counsel for Petitioner Association of
                                       American Railroads

October 17, 2014
                          CERTIFICATE OF SERVICE

      I hereby certify that a copy of the enclosed Corporate Disclosure Statement

was served on each of the following parties by first-class mail, postage prepaid,

this 17th day of October, 2014 to:



Melissa Porter
General Counsel
Federal Railroad Administration
1200 New Jersey Aye, SE
Washington, DC 20590




                                 Michael J. Rush
                          CERTIFICATE OF SERVICE

      I hereby certify that a copy of the enclosed Agency Docketing Statement

was served on each of the following parties by first-class mail, postage prepaid,

this 17th day of October, 2014 to:



Melissa Porter
General Counsel
Federal Railroad Administration
1200 New Jersey Aye, SE
Washington, DC 20590




                                Michael I. Rush
US. Department                                                                1200 New Jersey Avenue, SE
of Transportation                                                             Washington, DC 20590

Federal Railroad
AdminIstration


      AUG 1 S 2’f

  Mr. Michael J. Rush
  Associate General Counsel
  Association of American Railroads
  425 Third Street SW, Suite 1000
  Washington, DC 20024

  Dear Mr. Rush:

 This letter responds to your request on behalf of the Association of American Railroads
 (AAR) conveyed during a meeting with federal Railroad Administration (FRA)
 representatives on December 6, 2013, for the agency to revisit its interpretation of the hours
 of service laws, 49 U.S.C. Chapter 21 1, as applied to the “Ultra Cab II” cab signal system
 (UCIICSS) and its self-test functionality.

 fRA has long considered the testing of a cab signal system to be covered service as a signal
 employee and subject to the restrictions of 49 U.S.C. Chapter 211. Based on the evidence
 you provided and the statutory provisions at issue, FRA declines to revise its interpretation
 by creating an exception for the activity of conducting a self-test of the UCIICSS.

 In your presentation, you argued that the UCIICSS self-test requires no special expertise in
 signal systems, nor could performing the test reasonably be expected to affect the safe
 functioning of the signal system. It is important to note that this standard is not within the
 statute; 49 U.S.C. § 21101 defines a “signal employee” as an individual “who is engaged in
 installing, repairing, or maintaining signal systems.” The “special expertise” and “affect the
 safe functioning” tests found in FRA’s technIcal bulletins regarding the interpretation of the
 hours of service laws, with respect to signal employees (most recently issued as technical
 bulletin G-00-02), are themselves interpretations of the statutory language to provide a
 heuristic, or practical rule of thumb, for guidance purposes. But meeting neither criterion is
 fundamentally necessary for an activity to be classified as “installing, repairing, or
 maintaining signal systems.” In situations where FRA is asked to provide an interpretation,
 the heuristic is no longer necessary, and the statute can be interpreted directly based on the
 facts of the specific situation.

 FRA recognizes the value of the self-test functionality in simplifying the process of verifying
 proper functioning of the USIICSS. However, the test is not as simple as AAR depicted it.
 An investigation by F’RA—in a prior request for a waiver of the hours of service laws with
 respect to the USIIC$S (Docket No. fRA-201 1-0057)—found that employees who were
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conducting these self-tests were performing actions that were clearly covered by the hours of
service laws. As an example, the calibration of the systems must be checked outside of the
self-test procedure to ensure that the onboard system receives proper input. With incorrect
system input calibration, the self-test will allow higher-than-normal operating train speeds
prior to penalty brake applications. Accordingly, FRA previously determined that proper
performance of these tests for the purpose of compliance with federally required inspections
is a covered service function and denied the request for waiver.

The information submitted by AAR in support of its request, to the limited extent it differs
from arguments previously considered and rejected by FRA, is not persuasive, and therefore
does not provide an adequate basis for reinterpretation of the hours of service laws.

Please note, however, that FRA previously waived the requirement to conduct a daily or
after-trip test (Title 49 Code of Federal Regulations Section 236.586, Daily or after trt test),
required on equipment having self-diagnostic or self-testing functionality, while maintaining
the requirement that the departure test he performed.

If you have any questions, please do not hesitate to contact me.




           C
Robert C. Lauby
Associate Administrator for Railroad Safety
Chief Safety Officer
